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                           6        CREDIT COMPANY
                           7
                           8                                UNITED STATES DISTRICT COURT
                           9                                        CENTRAL DISTRICT
                       10                                 (SOUTHERN DIVISION – SANTA ANA)
                       11
                       12           MONEX DEPOSIT COMPANY and                   Case No. 8:09-CV-00287-JVS-AN
                                    MONEX CREDIT COMPANY,
                       13                                                       FINDINGS OF FACT,
                                                     Plaintiffs,                CONCLUSIONS OF LAW,
                       14                                                       TEMPORARY RESTRAINING
                                    v.                                          ORDER, ORDER TO SHOW
                       15                                                       CAUSE, AND ORDER ALLOWING
                                    JASON GILLIAM, STEVEN                       EARLY AND EXPEDITED
                       16           BOWMAN, RICHARD GILLIAM,                    DISCOVERY
                                    and DOES 1–50,
                       17                                                       The Hon. James V. Selna
                                                     Defendants.
                       18
                       19
                       20                  The Court has read plaintiffs’ application for a temporary restraining order,
                       21           for an order to show cause why a preliminary injunction should not issue
                       22           continuing the terms of the TRO, and for an order allowing early and expedited
                       23           discovery. The Court also has considered all evidence, memoranda, and other
                       24           documents filed by the parties in connection with that application, as well as
                       25           arguments of counsel and of pro se parties. Based on the foregoing material, the
                       26           Court finds that good cause exists to grant the requested relief.
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                           1               The Court finds the following facts:
                           2              1.      A number of customers and potential customers of Monex Deposit
                           3        Company and Monex Credit Company (collectively, “Monex”) have decided not to
                           4        do business with the company because of what they have read about Monex on
                           5        websites operated by or contributed to by defendants Jason Gilliam, Richard
                           6        Gilliam, and Steven Bowman (collectively “defendants.”) Those websites include
                           7        www.MonexFRAUD.com.
                           8              2.      Defendants have threatened to publish additional negative material
                           9        about Monex on www.MonexFRAUD.com and to report Monex’s activities to
                       10           government and the news media, and to continue to do so, unless the company pays
                       11           them $20 million.
                       12                 3.      Defendants are likely to continue publishing negative material on those
                       13           websites, including www.MonexFRAUD.com, and to keep their extortionate
                       14           threats in place because Monex has refused to pay them.
                       15                 4.      The websites are likely immediately to harm Monex by damaging its
                       16           reputation, customer relationships, business, revenues, and goodwill.
                       17                 5.      Such harm will not be compensable through money damages because
                       18           the amount of damage will not be determinable with sufficient precision.
                       19                 6.      Defendants will not suffer any cognizable harm if they are temporarily
                       20           enjoined from extorting, and attempting to extort, money from Monex by means of
                       21           threatening to publish negative statements about the company.
                       22                 7.      Plaintiffs have provided proper notice of the instant application to
                       23           Richard Gilliam and Jason Gilliam.
                       24                 8.      Plaintiffs have not provided notice to Steven Bowman by fax or
                       25           personal service because he has not provided plaintiffs with a fax number and
                       26           because of delays in serving him due to his residence in Canada and procedural
                       27           requirements of the Hague Convention. Plaintiffs’ provided Mr. Bowman with
                       28           notice of the application and all pleading submitted to this Court in support thereof
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                           1        via email, which is the usual manner in which Plaintiffs’ counsel and Mr. Bowman
                           2        communicated, as evidenced by exhibits attached to the declaration of Neil A.
                           3        Goteiner.
                           4              The Court makes the following conclusions of law:
                           5               1.     Plaintiffs have a reasonable probability of success in this action on one
                           6        or more theories which would support injunctive relief, including defamation, trade
                           7        libel, and interference with contract and economic advantage.
                           8              2.      The balance of equities in considering the application for the
                           9        temporary restraining order tips in Monex’s favor.
                       10                 3.      This temporary restraining order is in the public interest.
                       11                 4.      There is good cause to allow early and expedited depositions to be
                       12           taken in preparation for the hearing on the order to show cause.
                       13                  IT IS ORDERED THAT:
                       14                 A.      Defendants and anyone acting in concert with them or on their behalf
                       15                 ARE HEREBY RESTRAINED AND ENJOINED FROM:
                       16                         i.     Any efforts to extort consideration from Monex, including any
                       17                  efforts to persuade Monex to pay defendants money which directly or
                       18                  indirectly involves: (1) threats against Monex or its employees to publish in
                       19                  any forum or to share information about Monex with third parties, or (2)
                       20                  threats to defame Monex or its employees, unless Monex pays defendants.
                       21                         ii.    Disclosing or using directly or indirectly in any way any trade
                       22                  secret documentation or other propietary information belonging to Monex,
                       23                  including all internal Monex documents which are not public, such as Monex
                       24                  customer lists.
                       25                         iii.   Retaining any trade secret or proprietary information referred to
                       26                 in the last paragraph. To implement this part of the Order, defendants must
                       27                 disclose to and return to Monex within 48 hours of entry of this Order all
                       28                 such information and documentation within defendants’ possession, or within
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                           1              possession of anyone within defendants’ control. To the extent that
                           2              defendants once had possession of such documentation, but no longer have
                           3              possession, defendants must within 48 hours also inform Monex’s counsel in
                           4              writing and in specific and sufficient detail: (1) all efforts defendants have
                           5              made to re-acquire such documentation; (2) what became of such
                           6              documentation, including the time and date defendants lost control of the
                           7              documentation; and (3) who presently has possession of this documentation
                           8              so that Monex can take steps to recover the documentation.
                           9              B.      This order shall be effective as soon as plaintiffs or either of them
                       10           properly have posted a bond in the amount of $ 20,000.
                       11                 C.      This order shall expire at 5:00 p.m. April 7, 2009.
                       12                 D.      Defendants are ordered to show cause why a preliminary injunction
                       13           should not issue, continuing the terms of the temporary restraining order until
                       14           judgment or dismissal and adding the following additional terms:
                       15                         i.     Publishing or republishing any negative statements about Monex
                       16                  on any website, including, but not limited to, www.MonexFRAUD.com,
                       17                  www.youtube.com, http://digg.com, http://goldismoney.info, and
                       18                  http://americannepali.blogspot.com. This part of the order requires
                       19                  defendants to remove, from any website over which they have sufficient
                       20                  control, all negative material about Monex that they have published or
                       21                  republished there, and to stop using the world MonexFRAUD, all within 24
                       22                  hours of the entry of a preliminary injunction.
                       23                         ii.    Operating, directly or indirectly, www.MonexFRAUD.com, or
                       24                  other websites critical of Monex. All such websites and their contents must
                       25                  be removed from the public’s access, all within 24 hours of the entry of a
                       26                  preliminary injunction.
                       27                 E.      Plaintiffs may file and serve papers in support of their request for a
                       28           preliminary injunction, including a memorandum of points and authorities and
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                           1        documentary evidence, no later than March 26, 2009.
                           2              F.      Defendants may file and serve a return to the order to show cause and
                           3        papers in opposition to or otherwise responding to the request for preliminary
                           4        injunction no later than April 1, 2009.
                           5              G.      Plaintiffs may file and serve papers replying to defendants’ return and
                           6        any opposition no later April 3, 2009.
                           7              H.      A hearing on the order to show cause will be held on April 7, 2009 at
                           8        3:00 p.m., or as soon thereafter as the parties may be heard, in Courtroom 10C, U.S.
                           9        District Courthouse, 411 West Fourth Street, Santa Ana, California.
                       10                 I.      Monex, on the one hand, and defendants, collectively, on the other
                       11           hand, may depose by oral examination up to three people or entities in preparation
                       12           for the preliminary injunction hearing. The depositions can be taken on two
                       13           calendar days’ notice or longer so long as they occur on business days. All other
                       14           usual rules of deposition apply.
                       15                 J.      Monex, on the one hand, and defendants, collectively, on the other
                       16           hand, may serve 20 requests for production of documents and things in preparation
                       17           for the preliminary injunction hearing. Responses to the requests must be served
                       18           within four days or produced at the next deposition of the responding party,
                       19           provided that the requests are served at least one court day before the deposition.
                       20
                       21           Dated: March 24, 2009
                       22           Time: Noon                         By:
                                                                                    U.S. DISTRICT COURT JUDGE
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